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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION

  UNITED STATES OF AMERICA                      )        CR. NO.:8:19-cr-00181
                                                )
                                                )              21 USC § 841(a)(1)
                                                )              21 USC § 841(b)(1)(A)
                                                )              21 USC § 846
                                                )              21 USC § 952(a)
                                                )              21 USC § 960(b)(1)(A)
                                                )              21 USC § 960(b)(1)(B)
               v.                               )              21 USC § 960(b)(1)(F)
                                                )              21 USC § 843(b)
                                                )              21 USC § 963
                                                )              21 USC § 844(a)
                                                )              21 USC § 856(a)(1)
                                                )              18 USC § 1952(a)(3)
  DETRIC LEE MCGOWAN, a/k/a, “Fat”              )              18 USC § 1001(a)(2)
  DONALD NATHANIEL THOMAS, JR.,                 )              18 USC § 371
      a/k/a, “TJ”                               )              18 USC § 2
  JAMAL DEMARCUS LATIMER                        )              18 USC § 924(c)(1)(A)
  CHRISTOPHER JEROME                            )              31 USC § 5332(a)(1)
  CUNNINGHAM                                    )              31 USC § 5324(a)
  RICHARD LAMOND LONGSHORE,                     )              18 USC § 924(d)
      a/k/a, “Bam”                              )              21 USC § 853
  CELEST HENRY BLOCKER                          )              21 USC § 881
  EDDIE LEE CHILDS, JR., a/k/a, “Speedy”        )              31 USC § 5317(c)(1)
  TREVOR MAURICE HULL                           )              31 USC § 5332(b)(2)
  DANNY MORALES LOPEZ                           )              28 USC § 2461(c)
  SHEQUITA LATOYA HOLLOWAY                      )
  LAUREN BROOKE POORE                           )


                              MOTION TO UNSEAL INDICTMENT

       The United States of America, by and through its undersigned Assistant United States

Attorney, hereby moves this Honorable Court to unseal the Indictment in this case as to Jamal

Demarcus Latimer. Latimer has been arrested, is in custody and will appear before this Court




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February 29, 2019 for arraignment. Unsealing the indictment is necessary for court proceedings

and will allow counsel for the government to provide a copy to counsel for the Defendant.

                                            Respectfully submitted,

                                            SHERRI A. LYDON
                                            UNITED STATES ATTORNEY

                                     BY:     s/Leesa Washington
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February 28, 2019




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